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                                                                                                     Last revised   1211111

                                    UNITED STATES BANKRUPTCY COURT
                                           District of New Jersey
lN   RE:      Roy David Curiel                                   Case No.:                  14-16098
                                                                 Judge:                 Kathryn C' Ferguson
                                           Debtor(s)             Chapter:                       13

CHAPTER 13 PI.AN AND MOTIONS

ffigriginat                              DtloAifieAlNotice Required           ffipischarge Sought
fMotions lncluded                        fh{odified/No Notice Required        fNo   Discharge Sought

Date:     081812014

                           THE DEBTOR HAS FILED FOR RELIEF UNDER CHAPTER 13
                                      OF THE BANKRUPTCY CODE.

                                        YOUR RIGHTS WLL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.
                    YOU SHOULD FILE A PROOF OF CI.AIM BY THE DEADLINE SI\TED
                     IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PI.AN
                  THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIi,I
Part   1: Payment and Length of Plan
        a. The Debtor shall pay      i,e65.20 Monthty to the Chapter 13 Trustee, starting on April 1,2O14tor
        approximately 60 months.

        b. The Debtor shall make plan payments to the Trustee from the following sources:
                 tr      Future Earnings

                 tr      Other sources of funding (describe source, amount and date when funds are available):

        c.   Use of real property to satisfy plan obligations:

                 tl       Sale of real propefi
                          Description:
                          Proposed date for completion:

                 tr       Refinance of real property
                          Description:
                          Proposed date for completion:

                 tr       Loan modification with respect to mortgage encumbering property
                          Description:
                          Proposed date for completion:

         d. tr            The regular monthly mortgage payment will continue pending the sale, refinance or
                          loan modification.
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             e.           n            Other information that may be important relating to the payment and length of plan:



Part    2: Adequate Protection
            a. Adequate protection payments will be made                                      in the amount of      $_       to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to                                    _      (creditor).

             b. Adequate protection payments will be made in the amount of $__?Ogg.00__ to be paid directly
by the debtor(s) outside of the Plan, pre-confirmation                                      to      Hudson Cig Savinss   Bank       (creditor).

Part    3: Priority Glaims (lncluding Administrative                                       Expenses)

All allowed priority claims will be paid in full unless the creditor agrees otherwise:
 Creditor                                                                        Tvoe of Prioritv                                                   Amount to be Paid
 -NONE.

Part    4: Secured Glaims
            a. Curing Default and Maintaining Payments
The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy
filing as follows:
                                                                                                                   lnterest Amount to be Paid        Regular Monthly

 Creditor                                                                                            Anearage
                                                                                                                   Rate on   --@                    Payment (Outside
                                                                                                                 Arrearane                  Planl               Plan)
 Hudson City Savings Bank                    4(16Philadelphia Avenue                                108,176.39        0.00          108,176.39              2,000.00
                                             Painf Plaacrnf N -l




             b. Modification
        1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor lnterest in
Collateral," plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
as an unsecured claim. lf a secured claim is identified as having "NO VALUE" it shall be treated as an
unsecured claim.

                                       NOTE: A modification underthis section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.
                                                                                                                               value ot
                                                                                                      Total                    eCAi6r         Annual
                                                                             Scheduled           Collateral       Superior    tnrerest-in     lnteres Total Amount
                                                                             -----DeoEi          ---Taiue                                      tEm 6-EitFeiii--
 Credilor                         Collateral                                                                         Liens    eoiieml
 .NONE.



       2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
allowed secured claim shall discharge the conesponding lien.




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             c. Surrender
        Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the
following collateral:
 Creditor                                                 Collateral to be Sunendered            Value of Sunendered        Remaining Unsecured
                                                                                                 -----Tomterai                              Debt
 1. Bank of America                                       1. 185 DemoftAve. Clifion                          177.633.00               106,298.00
 2. Green Tree Financial                                  2. 185 Demott Ave. Clifion                         177.633.00                    6.298.00
 3. Nationstar Mortoaoe                                   3.402 Washinqton Street Clifton                    245,000.00                 106,810.00
 4. Nationstar Mortqaqe                                   4. 1O2 Buroess Place Passaic                        78.000.00                 160.190.00




             d. Secured Claims Unaffected                            by the Plan

             The following secured claims are unaffected by the Plan:
               Creditor


             e. Secured Claims to be paid in fullthrough the Plan
 Creditor                                                       Collateral                                Total Amount to be Paid throuoh the Plan
 .NONE-

Part     5: Unsecured Claims
             a. Not separately classified Allowed non-priority unsecured                         claims shall be paid:

                         Not less than $_ to be distributed pro rata
                         Not less than _ percent

                x        Pro rata distribution from any remaining funds

             b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                 Basis for Separate Classification   Treatment                         Amount to be Paid
 .NONE-

Part    6:    Executory Contracts and Unexpired Leases
            All executory contracts and unexpired leases are rejected, except the following, wfrich are assumed:
 Creditor                                                 Nature of Contract or Lease         Treatment by Debtor
 .NONE.




                                                                                   3
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 Part    7:    Motions

     NOTE: All plans containing motions must be served on all potentially affected creditors, together
     with a Chapter 13 Plan Transmittal Letter, within the time and in the manner set forth in D.N.J.
     LBR 3015-f . A Proof of Service must be filed with the Clerk of Court when the Plan and
     Transmittal Letter are served.
     Where a motion to avoid liens or partially avoid liens has been filed in the plan, a proof of claim
     filed that asserts a secured claim that is greater than the amount to be paid in the plan serues as
     opposition to the motion, and serves as an objection to confirmation. The proof of claim shall be
     sewed in accordance with D.N.J. LBR 3015-6(a). The creditor shall file a proof of service prior to
     the scheduled confirmation hearing. ln order to prosecute the obiection, the creditor must appear
     at the confirmation hearing, which shall be the hearing on the motion. Failure to appear to
     prosecute the obiection may result in the motion being granted and the plan being confirmed
                to the terms as set forth in the


             a. Motion to Avoid Liens under                                 1,l U.S.C. Section 522(ft. The Debtor moves to avoid the following
liens that impair exemptions:
                                                                                                                                 Sum of All
                                                                                                               Amount of        OlFerfie.ns-
                                                                                                               -Tiaimea
 Creditor
                           Nature of
                           eoiieierai                   Type of Lien          Amount of Lien
                                                                                                Value of
                                                                                               coiialeEl       Exempiion
                                                                                                                                @Pronerlv      Amount of Lien
                                                                                                                                               -IoEeMiiiAI
 .NONE.

        b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. The
Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:
 Creditor                                                              Collateral                                          Amount of Lien to be Reclassified
 .NONE.

        c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
Partially Unsecured. The Debtor moves to reclassify the following claims as partially secured and partially
unsecured, and to void liens on collateral consistent with Part 4 above:
                                                                                                                                                Amount to be
                                                                                                           Amount to be Deemed                 Redassifredas
 Creditor                                                      Collateral                                              Secured
 .NONE.                                                                                                                                        -UnsecureA

Part     8: Other Plan Provisions
             a. Vesting of Property of the Estate Property of the Estate shall revest                                  in the Debtor:

                             x        Upon Confirmation

                                      Upon Discharge

             b. Payment Notices
                            Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail
customary notices or coupons to the Debtor notwithstanding the automatic stay.




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             c. Order of Distribution                      The Trustee shall pay allowed claims in the following order:

                            1)          Trustee Commissions

                           2)           Other Adminlstrative Claims

                           3)           Securcd Glaime

                           4)           LeaseArrearages

                           5)           Priority Claims

                           6)           Genera! Unsecurcd Claims

       d. Post-petition claims The Trustee is EI is not f]authorized to pay post-petition claims filed
pursuant to 11 U.S.C. Sec'tion 1305(a) in the amount filed by the post-petition claimant


Part 9       :   Modification
lf this plan modifies a plan previously filed in this case, complete the information below.

Date of Plan      modified:
 Exolain below whv the Plan is beino modified.                                           Explain below how the Plan is beinq modified

 Are Schedules I and J being filed simultaneously with this                               modified        flYes          E   No
 Plan?

Part 10: Sign Here

             The debtor(s) and the attomey for the debtor (if any) must sign this Plan.
 p6fg       August 18,2014                                                        /Sl Brian F. O'Malley

                                                                                  Aftomey for the Debtor


             I certify under penalty of perjury that the foregoing is true and correct.

 Date Augustl&,2014                                                       Sigrrature /s/ Roy David Curiel
                                                                                     Roy David Curiel
                                                                                     Debtor




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